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                                   8                                 UNITED STATES DISTRICT COURT

                                   9                                NORTHERN DISTRICT OF CALIFORNIA

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                                  11       ARTIFEX SOFTWARE, INC.,                          Case No.16-cv-06982-JSC
                                                       Plaintiff,
                                  12
Northern District of California




                                                                                            ORDER RE: DEFENDANT’S
 United States District Court




                                                 v.                                         MOTION TO DISMISS
                                  13

                                  14       HANCOM, INC.,                                    Re: Dkt. No. 18
                                                       Defendant.
                                  15

                                  16

                                  17           Plaintiff Artifex Software Inc. (“Artifex”) brings breach of contract and copyright

                                  18   infringement claims against Defendant Hancom, Inc. Defendant’s motion to dismiss pursuant to

                                  19   Federal Rule of Civil Procedure 12(b)(6) is now pending before the Court.1 (Dkt. No. 18.) After

                                  20   carefully considering the arguments and briefing submitted, the Court concludes that oral

                                  21   argument is unnecessary, see Civ. L.R. 7-1(b), and DENIES the motion to dismiss.

                                  22                                                 BACKGROUND

                                  23   A.      Complaint Allegations

                                  24           Plaintiff develops and licenses software products that interpret files written in a page

                                  25   description language such as Adobe Systems Incorporated’s Portable Document Format (“PDF”)

                                  26   files. (Complaint ¶¶ 13-14.) PDF files generally permit a document created on one platform to be

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                                  28    Both parties have consented to the jurisdiction of a magistrate judge pursuant to 28 U.S.C. §
                                       636(c). (Dkt. Nos. 11 & 19.)
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                                   1   displayed and/or printed on another platform exactly as it was on the first platform. (Id. ¶ 14.)

                                   2   Plaintiff owns Ghostscript which is the most widely used PDF interpreter not developed by Adobe

                                   3   Systems. (Id. ¶¶ 1, 16.) Ghostscript interprets files written in PDF for display on a computer

                                   4   screen or for printing. (Id. ¶ 15.) Plaintiff has expended substantial amounts on research and

                                   5   development of Ghostscript to improve and update the product. (Id. ¶ 16.)

                                   6           Plaintiff’s business is based on the revenues it derives from being the “exclusive

                                   7   commercial licensing agent of the Ghostscript interpreter technologies.” (Id. ¶ 17.) Plaintiff

                                   8   offers commercial licenses to Ghostscript as well as for the public a conditional open source

                                   9   license called the GNU General Public License (“GNU GPL”). (Id. at ¶¶ 1, 17.) For those

                                  10   seeking to commercially distribute Ghostscript or any product that incorporates it, Plaintiff will

                                  11   grant a license to use, modify, copy, and/or distribute Ghostscript for a fee. (Id. ¶ 17.) There is no

                                  12   charge for licenses granted under the GNU GPL although such users must “comply with certain
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                                  13   open-source licensing requirements.” The GNU GPL was created to promote the open-source

                                  14   development of software products. (Id. ¶ 18.)

                                  15          On July 29, 2008, Plaintiff obtained a copyright from the Registrar of Copyrights

                                  16   Certificate of Registration No. TX 6-854-034 for Ghostscript version 8.54 and all previous

                                  17   versions. (Id. ¶ 29; Dkt. No. 1-2 (Ex. 2).) On December 6, 2016, Plaintiff filed an application to

                                  18   register Ghostscript version 8.71. (Complaint ¶ 29; Dkt. No. 1-3 (Ex. 3)) Plaintiff placed

                                  19   copyright notices on Ghostscript versions 8.54 and 8.71. (Complaint ¶ 30.)

                                  20          Defendant is a South Korean software company that owns and develops Hangul, a word

                                  21   processing software used primarily in South Korea and the United States as an alternative to

                                  22   Microsoft Word, as well as Hancom Office, a suite of software programs which include Hangul, a

                                  23   spreadsheet software, and a presentation software. (Id. ¶¶ 2, 19.) Defendant incorporated

                                  24   Ghostscript into its Hangul software “beginning as early as 2013.” (Id. ¶¶ 2, 20.) Because

                                  25   Defendant did not have a commercial license for Ghostscript, its use and distribution of

                                  26   Ghostscript constituted consent to the terms of the GNU GPL. (Id. ¶ 21.) Section 9 of the GNU

                                  27   GPL states:

                                  28                  You are not required to accept this License in order to receive or run
                                                                                        2
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                                                      a copy of the Program. Ancillary propagation of a covered work
                                   1                  occurring solely as a consequence of using peer-to-peer
                                   2                  transmission to receive a copy likewise does not require acceptance.
                                                      However, nothing other than this License grants you permission to
                                   3                  propagate or modify any covered work. These actions infringe
                                                      copyright if you do not accept this License. Therefore, by modifying
                                   4                  or propagating a covered work, you indicate your acceptance of this
                                                      License to do so.
                                   5
                                       (Complaint ¶ 21; Dkt. No. 1-1 (Ex. 1) at 10.) In addition, Defendant’s website stated that it had
                                   6
                                       licensed Ghostscript under the GNU GPL. (Id. ¶ 2.) Nonetheless, Defendant failed to comply
                                   7
                                       with key provisions of the GNU GPL. (Id. ¶¶ 2, 22.) In particular, because Defendant integrated
                                   8
                                       Ghostscript into its software without revealing to the end-user that Ghostscript was part of the
                                   9
                                       Hancom software, the GNU GPL required Defendant to distribute its software with the
                                  10
                                       accompanying source code. (Id. ¶¶ 22-24.) Defendant did not do so and thus violated the GNU
                                  11
                                       GPL, terminating Defendant’s license to use Ghostscript. (Id. ¶¶ 25-28.) Defendant’s failure to
                                  12
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                                       obtain a commercial license deprived Plaintiff of a licensing fee, or, alternatively, its failure to
                                  13
                                       comply with the GNU GPL deprived Plaintiff of the opportunity “to further promote the
                                  14
                                       advancement of interpreter technologies.” (Id. ¶¶ 1, 3, 17.)
                                  15
                                               Defendant “purportedly removed Ghostscript from the Hancom software in August 2016
                                  16
                                       after receiving a demand letter from Artifex.” (Id. ¶ 20.)
                                  17
                                       B.      Procedural Background
                                  18
                                               Plaintiff Artifex alleges two claims for relief: (1) breach of contract, and (2) copyright
                                  19
                                       infringement. Plaintiff seeks permanent injunctive relief enjoining Defendant from further use of
                                  20
                                       any products using Ghostscript, enjoining Defendant from directly or indirectly infringing
                                  21
                                       Artifex’s copyright in Ghostscript, and requiring Defendant to distribute to each licensee of
                                  22
                                       Hangul and Hancom Office the complete source code for the products in accordance with the
                                  23
                                       GNU GPL. (Complaint at pp. 11-12.2) Plaintiff also seeks compensatory, consequential,
                                  24
                                       statutory, and exemplary damages, as well as attorney’s fees and costs. (Id.)
                                  25
                                               Defendant responded to the complaint by filing the underlying 12(b)(6) motion to dismiss.
                                  26
                                  27
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                                  28    Record citations are to material in the Electronic Case File (“ECF”); pinpoint citations are to the
                                       ECF-generated page numbers at the top of the documents.
                                                                                         3
                                          Case 3:16-cv-06982-JSC Document 32 Filed 04/25/17 Page 4 of 11




                                   1                                              DISCUSSION

                                   2          Defendant makes three arguments. First, that Plaintiff has failed to state a claim for breach

                                   3   of contract and that any such claim is preempted by copyright law. Second, that Plaintiff’s

                                   4   copyright claim must be dismissed in part because Plaintiff has failed to allege that Defendant

                                   5   committed a predicate act in the United States. Finally, Defendant moves to strike portions of the

                                   6   relief sought in the complaint. The Court addresses each argument in turn.

                                   7   A. Plaintiff’s Breach of Contract Claim

                                   8          1) Plaintiff has Adequately Pled a Breach of Contract Claim

                                   9          The elements of breach of contract under California law are: (1) the existence of a contract;

                                  10   (2) plaintiff’s performance under the contract; (3) defendant’s breach of the contract; and (4) that

                                  11   plaintiff was damaged as a result of the breach. See Buschman v. Anesthesia Bus. Consultants,

                                  12   LLC, 42 F. Supp. 3d 1244, 1250 (N.D. Cal. May 13, 2014) (citing CDF Firefighters v.
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                                  13   Maldonado, 158 Cal. App. 4th 1226, 1239 (2008)). Breach of contract claims are subject to the

                                  14   notice pleading standard of Rule 8(a), which requires only “a short and plain statement of the

                                  15   claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a).

                                  16          Defendant contends that Plaintiff’s reliance on the unsigned GNU GPL fails to plausibly

                                  17   demonstrate mutual assent, that is, the existence of a contract. Not so. The GNU GPL, which is

                                  18   attached to the complaint, provides that the Ghostscript user agrees to its terms if the user does not

                                  19   obtain a commercial license. Plaintiff alleges that Defendant used Ghostscript, did not obtain a

                                  20   commercial license, and represented publicly that its use of Ghostscript was licensed under the

                                  21   GNL GPU. These allegations sufficiently plead the existence of a contract. See, e.g.,

                                  22   MedioStream, Inc. v. Microsoft Corp., 749 F. Supp. 2d 507, 519 (E.D. Tex. 2010) (concluding that

                                  23   the software owner had adequately pled a claim for breach of a shrink-wrap license).

                                  24          Plaintiff’s allegations of harm are also adequately pled. Plaintiff plausibly alleges that

                                  25   Defendant’s use of Ghostscript without obtaining a commercial license or complying with GNU

                                  26   GPL deprived Plaintiff of the licensing fee, or alternatively, the ability to advance and develop

                                  27   Ghostscript through open-source sharing. Indeed, as the Federal Circuit has recognized, there is

                                  28   harm which flows from a party’s failure to comply with open source licensing: “[t]he lack of
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                                   1   money changing hands in open source licensing should not be presumed to mean that there is no

                                   2   economic consideration” because “[t]here are substantial benefits, including economic benefits, to

                                   3   the creation and distribution of copyrighted works under public licenses that range far beyond

                                   4   traditional license royalties.” Jacobsen v. Katzer, 535 F.3d 1373, 1379 (Fed. Cir. 2008).

                                   5   Although on remand from the Federal Circuit the district court concluded that plaintiff’s open

                                   6   source license breach of contract claim inadequately pled damages, the plaintiff there only alleged

                                   7   “[b]y reason of the breach, Plaintiff has been harmed.” Jacobsen v. Katzer (Jacobsen II), 609 F.

                                   8   Supp. 2d 925, 933 (N.D. Cal. 2009). Here, in contrast, Plaintiff’s allegations regarding the dual

                                   9   licensing structure are sufficient to plead damages for Plaintiff’s breach of contract claim.

                                  10   Defendant’s argument is more appropriately addressed on summary judgment.

                                  11            2) The Breach of Contract Claim is not Preempted

                                  12          Next, Defendant insists that even if the complaint states a claim for breach of contract, the
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                                  13   claim still must be dismissed as preempted by federal copyright law.

                                  14          Federal copyright preemption of overlapping state law claims under the Copyright Act, 17

                                  15   U.S.C. § 301, is “explicit and broad” and “prohibits state-law protection for any right equivalent to

                                  16   those in the Copyright Act.” G.S. Rasmussen & Assoc. v. Kalitta Flying Serv., 958 F.2d 896, 904

                                  17   (9th Cir.1992). Section 301 establishes a two-part test for preemption: (1) the claims must come

                                  18   within the subject matter of the copyright, and (2) the rights granted under state law must be

                                  19   equivalent to any of the exclusive rights within the general scope of copyright as set forth in the

                                  20   Act. See Kodadek v. MTV Networks, Inc., 152 F.3d 1209, 1212 (9th Cir. 1998). To avoid

                                  21   preemption under the second prong, the state law claim “must protect rights which are

                                  22   qualitatively different from the copyright rights.” Design Art v. Nat’l Football League Properties,

                                  23   Inc., No. 00CV593 JM (JAH), 2000 WL 33151646, at *2 (S.D. Cal. Aug. 18, 2000) (citing Del

                                  24   Madera Props. v. Rhodes & Gardner, Inc., 820 F.2d 973, 977 (9th Cir.1987), overruled on other

                                  25   grounds by Fogerty v. Fantasy, Inc., 510 U.S. 517 (1994)). Thus, courts ask whether the state law

                                  26   claim has an “extra element” that changes the nature of the claim. Del Madera, 820 F.2d at 977.

                                  27          Here, both parties agree that the first prong is met—Plaintiff’s breach of contract claim is

                                  28   based on Defendant’s use of Plaintiff’s copyrighted software: Ghostscript. They disagree,
                                                                                         5
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                                   1   however, regarding whether the second prong is met; namely, whether the copyright claim

                                   2   contains an “extra element.” Plaintiff relies on Versata Software, Inc. v. Ameriprise Fin., Inc.,

                                   3   2014 WL 950065, at *5 (W.D. Tex. Mar. 11, 2014), which concluded that “[c]opyright law

                                   4   imposes no open source obligations, and [defendant] has [counter]sued based on [plaintiff’s]

                                   5   breach of an additional obligation: an affirmative promise to make its derivative work open source

                                   6   because it incorporated an open source program into its software. [The] claim therefore requires an

                                   7   ‘extra element’ in addition to reproduction or distribution: a failure to disclose the source code of

                                   8   the derivative software.” Id. Defendant counters that Versata was decided under a different GPL

                                   9   and insists that the court should instead follow the court’s rationale in Jacobsen II. There, the

                                  10   court concluded that the breach of contract claim was preempted “because it allege[d] violations of

                                  11   the exact same exclusive federal rights protected by Section 106 of the Copyright Act, the

                                  12   exclusive right to reproduce, distribute and make derivative copies.” Jacobsen II, 609 F. Supp. 2d
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                                  13   at 933. Defendant, however, does not explain why the GPU GPL’s open source requirement is not

                                  14   the required extra element and the argument was apparently not made in Jacobsen II. Defendant

                                  15   has thus not met its burden of proving preemption. See Stengel v. Medtronic, 704 F.3d 1224,

                                  16   1227–28 (9th Cir. 2013) (en banc) (“Parties seeking to invalidate a state law based on preemption

                                  17   bear the considerable burden of overcoming the starting presumption that Congress does not

                                  18   intend to supplant state law.”) (internal citation and quotation marks omitted); Hendricks v.

                                  19   StarKist Co., 30 F. Supp. 3d 917, 925, n.5 (N.D. Cal. 2014) (noting that preemption is an

                                  20   affirmative defense for which defendant bears the burden of proof).

                                  21          In any event, the Ninth Circuit Court has held that the Copyright Act “does not preempt

                                  22   causes of action premised upon possible extraterritorial infringement.” Allarcom Pay Television,

                                  23   Ltd. v. Gen. Instrument Corp., 69 F.3d 381, 387 (9th Cir. 1995). As discussed below, both parties

                                  24   agree that this action is premised upon possible extraterritorial infringement to which the

                                  25   Copyright Act would not apply. Because any such extraterritorial infringement would not be

                                  26   subject to the Copyright Act, claims based on this infringement would not be preempted and thus

                                  27   could be maintained under state law instead. Id.

                                  28                                                    ***
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                                   1           Accordingly, Defendant’s motion to dismiss Plaintiff’s breach of contract claim is denied.

                                   2   Plaintiff has adequately pled the claim and Defendant has not proved at this stage that the claim is

                                   3   preempted by the Copyright Act.

                                   4   B.      Plaintiff’s Copyright Claim

                                   5           There is no dispute that Plaintiff has adequately alleged that Defendant committed acts of

                                   6   infringement in the United States: “Hancom has offered and distributed its infringing products

                                   7   incorporating Ghostscript in California through the Internet.” (Complaint ¶ 7.) Defendant,

                                   8   however, moves to dismiss Plaintiff’s copyright claim to the extent that it is predicated on any

                                   9   extraterritorial acts of alleged infringement. As the Ninth Circuit has recognized, “wholly

                                  10   extraterritorial acts of infringement cannot support a claim under the Copyright Act.” Subafilms,

                                  11   Ltd. v. MGM-Pathe Commc’ns Co., 24 F.3d 1088, 1095 (9th Cir. 1994) (en banc).

                                  12           Plaintiff maintains that the motion to dismiss is premature and that a motion to dismiss
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                                  13   claims of foreign infringement must be denied where domestic infringing acts are sufficiently pled

                                  14   as they are here. Plaintiff suggests that discovery will help identify the specific locations of

                                  15   Defendant’s infringing activities, including where Defendant “physically reproduced or prepared

                                  16   derivative works of Ghostscript.” (Dkt. No. 27 at 15:1.) Further, because Plaintiff is located in

                                  17   the United States and Ghostscript is offered for licensing and download from the United States, “it

                                  18   is possible that Hancom’s infringing acts will all be deemed to have resulted from predicate acts

                                  19   occurring in the United States.” (Id. at 15:3-5.)

                                  20           Defendant insists that the only exception to the extraterritorial limits on copyright law is

                                  21   where a “predicate infringing act is committed entirely within the United States that enables

                                  22   further infringement outside the United States.” (Dkt. No. 29 at 11:9-11.) Defendant relies on Los

                                  23   Angeles News Serv. v. Reuters Television Int’l, Ltd., 149 F.3d 987 (9th Cir. 1998), which holds

                                  24   that the Copyright Act may apply where an act of infringement is completed entirely within the

                                  25   United States and such an infringing act enabled further exploitation abroad. Id. at 990-92.

                                  26   Courts, however, are split on “whether all parts of the infringing act must take place in the United

                                  27   States, or if it is sufficient that some part of the infringing acts take place in the United States.”

                                  28   Shropshire v. Canning, 809 F. Supp. 2d 1139, 1145 (N.D. Cal. 2011). Defendant insists that the
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                                   1   only reasonable inference that can be drawn from the Complaint is that the infringement took

                                   2   place in South Korea where Hancom is located. Not so.

                                   3          The Complaint alleges that Plaintiff, a California company, offered Ghostscript for license

                                   4   either commercially or through the GNU GPL on the Internet, that Defendant licensed Ghostscript

                                   5   via the GNU GPL, that it integrated Ghostscript into its Hangul software without complying with

                                   6   the open-source licensing requirements, and that it offered and distributed the allegedly infringing

                                   7   product on the Internet. (Complaint ¶¶ 2, 6-7, 10, 17-18.) Defendant insists that because it is a

                                   8   South Korean company the Court must draw the inference that all the predicate acts—the copying,

                                   9   integrating and incorporating of Plaintiff’s software—occurred in South Korea. While that is

                                  10   certainly a reasonable inference, the Court is required to draw all reasonable inferences in

                                  11   Plaintiff’s favor—not the other way around. There are no facts alleged in the complaint that

                                  12   would prohibit the inference that at least some infringement occurred in the United States.
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                                  13          The cases upon which Defendant relies are distinguishable. In Rundquist v. Vapiano SE,

                                  14   798 F. Supp. 2d 102 (D.D.C. 2011), the court addressed whether the Copyright Act reached the

                                  15   defendant’s use of plaintiff’s copyrighted photographs in restaurants outside the United States.

                                  16   The plaintiff argued that the defendant’s infringement in the United States was a sufficient

                                  17   predicate act to reach the photographs published outside the United States because the defendant

                                  18   used the American restaurants to entice the opening of foreign restaurant franchisees. The court

                                  19   concluded that this argument “stretches the predicate act exception too far.” Id. at 124. Here, in

                                  20   contrast, the allegations are simply too sparse for the Court to conclude that the Copyright Act

                                  21   does not reach Defendant’s software distributed abroad. See, e.g., Damental Too, Ltd. v. Gemmy

                                  22   Indus. Corp., No. 96 CIV. 1103 (MBM), 1996 WL 724734, at *6 (S.D.N.Y. Dec. 17, 1996)

                                  23   (dismissing extraterritorial copyright claim because plaintiff had not alleged any domestic

                                  24   copyright infringement—“mere authorization and approval of copyright infringements taking

                                  25   place outside the United States is not a copyright violation”); Update Art, Inc. v. Modiin Pub.,

                                  26   Ltd., 843 F.2d 67, 73 (2d Cir. 1988) (noting that copyright protection applied “[i]f the illegal

                                  27   reproduction of the poster occurred in the United States and then was exported to Israel” but not if

                                  28   the reproduction occurred solely in Israel).
                                                                                         8
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                                   1           In short, while the Copyright Act may not reach all of Defendant’s challenged acts, the

                                   2   Court cannot resolve this issue on this record. The Court therefore denies the motion to dismiss

                                   3   without prejudice to raising this issue in a subsequent pleading should the evidence suggest that

                                   4   the requisite link between the extraterritorial infringement and activities in the United States does

                                   5   not exist. See, e.g., Goes Int’l, AB v. Dodur Ltd., No. 14-CV-05666-LB, 2016 WL 427369, at *3

                                   6   (N.D. Cal. Feb. 4, 2016) (allowing discovery into whether plaintiff had “a viable claim for

                                   7   damages flowing from extraterritorial exploitation of an infringing act that occurred entirely inside

                                   8   the United States.”) (internal quotation marks omitted); Fyk v. Roth, No. CIV.A. 94-3826, 1995

                                   9   WL 290444, at *2 (E.D. Pa. May 9, 1995) (“denying motion to dismiss claims based on

                                  10   extraterritorial infringements because “[f]urther detailed information as to acts occurring within

                                  11   and without the United States is necessary in order to render a decision on this claim, which will

                                  12   only be gained through discovery.”).
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                                  13   C.      Defendant’s Request to Dismiss Certain Requests for Relief

                                  14           Finally, Defendant moves to dismiss portions of Plaintiff’s prayer for relief including

                                  15   Plaintiff’s request for specific performance, restitution, and consequential damages on the breach

                                  16   of contract claim, and statutory and exemplary damages, as well as attorney’s fees on the

                                  17   copyright claim.3 Plaintiff concedes that as pled it is not entitled to exemplary damages on either

                                  18   claim, but otherwise contends that Defendant’s request to dismiss and parse portions of its prayer

                                  19   for relief is otherwise improper at this stage. The Court agrees.

                                  20           Generally, “factually based arguments [to dismiss relief sought] are appropriate …at a later

                                  21   stage of litigation, not on the pleadings.” Whittlestone, 618 F.3d at 975 n.2. Accordingly, the

                                  22   Court will not dismiss the request for specific performance—directing Defendant to distribute its

                                  23   source code—even though the ultimate imposition of such relief is extremely dubious. The result

                                  24
                                       3
                                  25     Defendant’s motion is brought under Rule 12(b)(6) which governs dismissal for failure to state a
                                       claim upon which relief may be granted, but Defendant characterizes this portion of its motion as
                                  26   seeking to strike certain claims for relief. While “[t]he court may strike from a pleading an
                                       insufficient defense or any redundant, immaterial, impertinent, or scandalous matter” under Rule
                                  27   12(f), dismissal under Rule 12(b)(6) is the proper vehicle, where, as here, a defendant challenges
                                       the legal sufficiency of certain requests for relief. See Whittlestone, Inc. v. Handi-Craft Co., 618
                                  28   F.3d 970, 974 (9th Cir. 2010). The Court will thus construe Defendant’s request as one for
                                       dismissal.
                                                                                           9
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                                   1   is the same for the restitution demand. “To find otherwise would confuse pleading under Federal

                                   2   Rule of Procedure 8(a) with proof.” Spann v. J.C. Penney Corp., No. SA CV 12-0215 FMO, 2015

                                   3   WL 1526590, at *4 (C.D. Cal. Mar. 17, 2015)

                                   4          Defendant’s reliance on Colonial Life & Acc. Ins. Co. v. Stentorians-L.A. Cty. Black Fire

                                   5   Fighters, No. 2:13-CV-9235-CAS, 2014 WL 794571 (C.D. Cal. Feb. 24, 2014), is unavailing, as

                                   6   there the court dismissed the claim for specific performance because the “terms of the agreement

                                   7   [plaintiff sought specific performance of] are not sufficiently certain to make the precise act which

                                   8   is to be done clearly ascertainable.” Id. at *8. Here, neither party alleges lack of ascertainability.

                                   9   In contrast, in Oracle Corp. v. DrugLogic, Inc., No. C 11-00910 JCS, 2011 WL 5576267, at *14

                                  10   (N.D. Cal. Nov. 16, 2011), the court denied a request to strike a claim for specific performance

                                  11   because the defendant had not cited any case establishing that it was appropriate to strike a request

                                  12   for specific performance at the pleadings stage where the party included general allegations as to
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                                  13   breach of contract, and there was a threat of continued harm. While Defendant correctly

                                  14   emphasizes that there is no allegation of continued harm here, “at the pleading stage, the court

                                  15   simply is not in a position to determine whether an adequate remedy at law exists” particularly

                                  16   where, as here, Defendant contests Plaintiff’s entitlement to damages. JPMorgan Chase Bank,

                                  17   N.A. v. Paramount Residential Mortg. Grp., Inc., No. 13-00471JGBSPX, 2013 WL 12133894, at

                                  18   *5 (C.D. Cal. May 30, 2013); see also Ceruzzi Holdings, LLC v. Inland Real Estate Acquisitions,

                                  19   Inc., No. 09–5440, 2010 WL 1752184, at *3 (D. N.J. April 29, 2010) (“That the plaintiffs may

                                  20   have to eventually demonstrate the inadequacies of damages, however, does not mean that they

                                  21   must demonstrate this at the pleading stage. Although specific performance is an appropriate

                                  22   remedy only if damages are impracticable or inadequate, [p]laintiffs may plead alternative theories

                                  23   requesting damages and specific performance until discovery may better elucidate which remedy,

                                  24   if any is appropriate.”) (internal citation and quotation marks omitted).

                                  25          Nor is the Court persuaded by Defendant’s fact-based argument that specific performance

                                  26   is barred by Section 8 of the GNU GPL. Because this argument requires interpretation of contract

                                  27   language—the effect of which the parties dispute—it cannot be resolved at this stage. See

                                  28   Gardner v. RSM & A Foreclosure Servs., LLC, No. 12CV2666, 2013 WL 1129392, at *3 (E.D.
                                                                                         10
                                         Case 3:16-cv-06982-JSC Document 32 Filed 04/25/17 Page 11 of 11




                                   1   Cal. Mar. 18, 2013).

                                   2          Defendant’s motion to dismiss portions of Plaintiff’s prayer for relief is therefore denied

                                   3   without prejudice to renewing its arguments on summary judgment.

                                   4                                            CONCLUSION

                                   5          For the reasons explained above, Defendant’s motion to dismiss is DENIED. (Dkt. No.

                                   6   18.) Plaintiff’s request for exemplary damages is deemed withdrawn.

                                   7          Defendant shall file its answer by May 18, 2017.

                                   8          The parties shall appear for an Initial Case Management Conference on June 15, 2017 at

                                   9   1:30 p.m. in Courtroom F, 450 Golden Gate Ave., San Francisco, California. A Joint Case

                                  10   Management Conference Statement is due June 8, 2017.

                                  11

                                  12          IT IS SO ORDERED.
Northern District of California
 United States District Court




                                  13   Dated: April 25, 2017

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                                                                                                    JACQUELINE SCOTT CORLEY
                                  16                                                                United States Magistrate Judge
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